        Case 4:19-cv-07123-PJH Document 328-2 Filed 07/03/24 Page 1 of 2



 1   MATTHEW G. BALL (SBN 208881)
     matthew.ball@klgates.com
 2   K&L GATES LLP
     Four Embarcadero, Suite 1200
 3   San Francisco, CA 94111
     Telephone: (415) 882-8200
 4   Facsimile: (415) 882-8200

 5   Attorneys for Third Party
     FRANCISCO PARTNERS MANAGEMENT
 6   L.P.

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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
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                                                Case No. 4:19-cv-07123-PJH
11   WHATSAPP LLC, and META PLATFORMS
     INC.,                                      [PROPOSED] ORDER SEALING THIRD
12                                              PARTY FRANCISCO PARTNERS’
                    Plaintiff,                  MANAGEMENT DOCUMENT
13                                              ATTACHED AS EXHIBIT M TO THE
                       v.                       DECLARATION OF CRAIG CAGNEY
14                                              [ECF NO. 319]
     NSO GROUP TECHNOLOGIES LIMITED
15   and Q CYBER TECHNOLOGIES LIMITED,
                                                DISCOVERY MATTER
16
                    Defendant.
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     [PROPOSED] ORDER SEALING THIRD PARTY FRANCISCO PARTNERS’ DOCUMENT ATTACHED
                   AS EXHIBIT M TO THE DECLARATION OF CRAIG CAGNEY
         Case 4:19-cv-07123-PJH Document 328-2 Filed 07/03/24 Page 2 of 2



 1          The Court has considered Third Party Francisco Partners’ Management L.P.’s Local Rule 79-

 2   5(f)(3) Statement re Maintaining Seal of Materials Filed by Plaintiffs in Support of Motion for

 3   Issuance of a Letter Rogatory Pursuant to the Hague Convention [ECF No. 319], and Declaration of

 4   Steve Eisner attaching a redacted copy of Exhibit M to the Declaration of Craig Cagney. The Court

 5   makes the following findings:

 6          (1) Good cause supports the sealing of the redacted portions of Exhibit M, because the

 7   redacted portions of Exhibit M contain highly confidential and sensitive information that Francisco

 8   Partners protects from the public, and specifically contains the information detailed in the Eisner

 9   Declaration at Paragraph 6;

10          (2) There is an overriding interest that overcomes the right of public access to the record and

11   supports sealing the record;

12          (3) A substantial probability exists that the overriding interest will be prejudiced if the

13   record is not sealed;

14          (4) The sealing request is narrowly tailored, in that only highly confidential and sensitive

15   information has been redacted from Exhibit M to the Cagney Declaration, as shown by the redacted

16   copy attached as Exhibit A to the Eisner Declaration; and

17          (5) There are no less restrictive means to protect the overriding interest of Francisco Partners

18   to keep its business analyses and strategies confidential.

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20          Accordingly, the only the redacted copy of Exhibit M to the Cagney Declaration will be filed

21   in the public file. The unredacted copy shall be SEALED.

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23   IT IS SO ORDERED.

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25                                                 __________________________________

26                                                 The Honorable Phyllis J. Hamilton

27                                                 Chief United States District Judge

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                                                        2
     [PROPOSED] ORDER SEALING THIRD PARTY FRANCISCO PARTNERS’ DOCUMENT ATTACHED
                   AS EXHIBIT M TO THE DECLARATION OF CRAIG CAGNEY
